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     JMK:WK/ELM                                                                  U.S. DISTRICT COURT E.D.N.Y
     F.#2017R00321                                                               *      JAN 2 l W1d        JJr
     UNITED STATES DISTRICT COURT
                                                                                 LONG ISLAND OF;.rcr
     EASTERN DISTRICT OF NEW YORK
     ---------------------------X
     UNITED STATES OF AMERICA                                  INFORMATION

             - against-                                        Cr. No. 18-CR-027
                                                               (T. 18, U.S.C., §§ 982(a)(2), 982(b)(1 ),
     MATTHEW T. VOSS,                                           1349 and 3551 et seq.; T. 21, U.S.C.,
                                                                § 853(p))
                               Defendant.

     ---------------------------X

     THE UNITED STATES ATTORNEY CHARGES:

                                              INTRODUCTION

                     At all times relevant to this Information, unless otherwise indicated:

     I.       The Defendant and Relevant Entities

                     1.     The defendant MATTHEW T. VOSS, a resident of Suffolk County, New

     York, was the Chief Operating Officer of Vanguard Funding, LLC.

                     2.     Vanguard Funding, LLC ("Vanguard") was a New York State limited

     liability company and a mortgage lender headquartered in Garden City, New York. Vanguard

     provided residential mortgages to its clients. Vanguard funded mortgages it issued with money

     it borrowed from Santander Bank ("Santander"), BankUnited and Northpointe Bank

     ("Northpointe") (collectively, "the Banks").

                     3.     The Banks were "financial institutions" as defined in Title 18, United

     States Code, Section 20. The deposits of the Banks were insured by the Federal Deposit

     Insurance Corporation.
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II.    The Fraudulent Scheme

               4.      In or about and between August 2015 and March 201 7, the defendant

MATTHEW T. VOSS, together with others, orchestrated a scheme to defraud the Banks by

obtaining, and attempting to obtain, loans from the Banks based on false representations that the

loan money would be used by Vanguard to fund specific home mortgages.

               5.      Ordinarily, the Banks wired the money for each loan from bank accounts

located in, among other places, Miami-Dade County, Florida, and Essex County, New Jersey, to

an attorney trust account (the "Attorney Trust Account") controlled by Co-Conspirator #1, an

individual whose identity is known to the United States Attorney, in Nassau County, New York.

               6.      Co-Conspirator #1 thereafter was responsible for: (a) disbursing the loan

money on behalf of Vanguard's client to pay for the property purchased with that client's

mortgage and any associated costs and fees; and (b) processing the legal documents transferring

ownership interest in the property.

               7.      On multiple occasions, however, at the request of the defendant

MATTHEW T. VOSS and others, Co-Conspirator #1 did not disburse the money in connection

with a real estate transaction as described above. Instead, at the request of VOSS and others

who worked at Vanguard, Co-Conspirator #1 fraudulently diverted the loan money from the

Attorney Trust Account to a Vanguard bank account.

               8.     The money diverted to Vanguard was not used to fund mortgages for

Vanguard's clients, as represented to the Banks. Instead, the money was used, at the direction

of the defendant MATTHEW T. VOSS and others, among other things, to: (a) pay Vanguard

executives' personal expenses and compensation; and (b) pay off loans Vanguard had previously

obtained purportedly to fund mortgages but had, instead, used for improper purposes.
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                     CONSPIRACY TO COMMIT WIRE FRAUD AND BANK FRAUD

                     9.     The allegations contained in paragraphs one through eight are realleged

     and incorporated as though fully set forth herein.

                     1O·.   In or about and between August 2015 and March 2017, both dates being

     approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

     MATTHEW T. VOSS, together with others, did knowingly and intentionally conspire:

                            (a)     to devise a scheme and artifice to defraud the Banks, and to obtain

     money and property from them by means of materially false and fraudulent pretenses,

     representations and promises, and for the purpose of executing such scheme and artifice, to

     transmit and cause to be transmitted by means of wire communication in interstate and foreign

     commerce writings, signs, signals, pictures and sounds, contrary to Title 18, United States Code,

     Section 1343; and

                            (b)     to execute a scheme and artifice to defraud the Banks, all financial

     institutions, and to obtain moneys, funds, credits, assets and other property owned by and under

     the custody and control of those financial institutions by means of one or more materially false

     and fraudulent pretenses, representations and promises, contrary to Title 18, United States Code,

     Section 1344.

                     (Title 18, United States Code, Sections 1349 and 3551 et seq.)

                                  CRIMINAL FORFEITURE ALLEGATION

                     11.    The United States hereby gives notice to the defendant that, upon his

     conviction of the offense charged herein, the government will seek forfeiture in accordance with

     Title 18, United States Code, Section 981 (a)(2), which requires any person convicted of such
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offense to forfeit any property constituting, or derived from, proceeds obtained directly or

indirectly as a result of such offense.

                12.    If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction of the court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 18, United States Code, Section 982(b)( 1), to seek forfeiture of any other

property of the defendant up to the value of the forfeitable property described in this forfeiture

allegation.

               (Title 18, United States Code, Sections 982(a)(2) and 982(b)(1 ); Title 21, United

States Code, Section 853(p))




                                                     RICHARD P. DONOGHUE
                                                     UNITED STATES ATTORNEY
                                                     EASTERN DISTRICT OF NEW YORK
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F. #2017R00321
FORMDBD-34            No.
JUN.85
                                         UNITED STATES DISTRICT COURT

                                            EASTERN District ofNEW YORK

                                                  CRIMINAL DIVISION

                                          THE UNITED STATES OF AMERICA

                                                             vs.

                                                   MATTHEW T. VOSS,

                                                                                             Defendant.

                                                     INFORMATION

                               (T. 18, U.S.C., §§ 982(a)(2), 982(b)(l), 1349 and 3551 et film.;
                                                   T. 21, U.S.C., §853(p))




                      Filed in open court this _________________ day,

                      of ____________ A.D. 20 ____ _

                                                                                                  Clerk


                      Bail,$ __________ _




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